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LOCSY INC

 
 

Case 3:97-cv-00090-BTM,- ¢$ Document 1 Filed 01/17/97 PagelD.2 Page 2 of 23

AQ 440 (Rev 5/85) Summons in a Civil Action

United States Bistrict Court

SOUTHERN DISTRICT OF CALIFORNIA

   
 

JOLLIBEE FOODS CORPORATION |
SUMMONS IN A CIVIL ACTION

vs

LOCSY, INC., a California corporation
d.b.a. GOLDEN FOODS CORPORATION;
ELISEO SY, an individual; GLOBAL
PRODUCE CORPORATION, a California
corporation, d.b.a. GOLDEN FOODS
CORPORATION: PHILIP YOUNG, an
individual; and GOLDEN FOODS
CORPORATION, a business entity of unknown origin

TO: (Name and Address of Defendant)

CaseNo. '97 CV 0696 BTN (JES)

]

 

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon PLAINTIFF'S ATTORNEY

IAN L. KESSLER

BAKER & McKENZIE

101 WEST BROADWAY, SUITE 1200

SAN DIEGO, CA 92101 619/236-1441
we

An answer to the complaint which is herewith served upon you, within, 209 days after
service of this summons upon you, exclusive of the day of service. Lf you fail to do so,
judgment by default will be taken against you for the relief demanded in the complaint.

Roberta Westdal Shia doccy

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IAN L. KESSLER, STATE BAR NO. 105899

 

BAKER & McKENZIE ; —

Wells Fargo Plaza, Twelfth Floor ik cm

101 West Broadway Da ten cat

San Diego, CA 92101 Pw \

Telephone: (619) 236-1441 2 f {

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Attorneys for Plaintiff i W907 ‘

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

CIVIL AGYTORYNG } 6 BTM (JES)

COMPLAINT FOR TRADEMARK
INFRINGEMENT, FALSE
DESIGNATION OF ORIGIN,
UNFAIR COMPETITION, AND
DILUTION

JOLLIBEE FOODS CORPORATION,
Plaintiff,
Vv.

Locsy, INC., a California
Corporation, d.b.a. GOLDEN
FOODS CORPORATION; ELISEO SY,
an individual; GLOBAL PRODUCE
CORPORATION, a California
corporation, d.b.a. GOLDEN
FOODS CORPORATION; PHILIP
YOUNG, an individual; and
GOLDEN FOODS CORPORATION, a
business entity of unknown
origin,

JURY TRIAL DEMANDED

Defendants.

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Plaintiff Jollibee Foods Corporation ("Jollibee") alleges

as follows:

JURISDICTION

1. This is an action to recover damages and obtain
injunctive relief under the trademark laws of the United States
and the related laws of the State of California. This Court has

original jurisdiction of the subject matter for each of the

 

 

 

 
 

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1 following claims:
2 a. Trademark infringement in violation of the
3 Lanham Act, 15 U.S.C. section 1051, et seq., with jurisdiction
4 vested in this Court by virtue of 15 U.S.C. section 1121 and
5 28 U.S.C. sections 1331, 1332, and 1338(a).
6 b. False designation of origin and false
7 || description or representation in violation of the Lanham Act,
8 15 U.S.C. section 1125(a), with jurisdiction vested in this
9 Court by virtue of 15 U.S.C. section 1121 and 28 U.S.C.
10 sections 1131, 1132 and 1338(a).
11 Cc. Dilution under the Federal Trademark Dilution
12 Act of 1995 in violation of the Lanham Act, 15 U.S.C. 1125(c),
13 || with jurisdiction vested in this Court by virtue of 15 U.S.C.
14 section 1121 and 28 U.S.C. sections 1331, 1332 and 1338(a).
15 d. Injury to business reputation and dilution in
16 violation of California Business and Professions Code
17 section 14330(a), with jurisdiction vested in this Court by
18 }/ virtue of 28 U.S.C. sections 1331, 1332 and 1338(b), and by
19 {| virtue of the principles of supplemental jurisdiction.
20 e. Statutory and common law unfair competition
21|| arising under the laws of California, including California
22 Business and Professions Code section 17000, et seq., with
23]| jurisdiction vested in this Court by virtue of 28 U.S.c.
24 sections 1331, 1332 and 1338(b), and by virtue of the principles
25 || of supplemental jurisdiction.
26 2. Venue properly lies in this district pursuant to
27 28 U.S.C. section 1391 because defendants are selling infringing

28!) goods in this district and are subject to personal jurisdiction

 

 

 

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1 in this district.

2 THE PARTIES
3 3. Plaintiff Jollibee is a corporation organized and

4|| existing under the laws of the Philippines, having its principal
5 place of business at Sth Floor, Jollibee Centre Building, San

6|| Miguel Avenue, Pasig City, Philippines.

7 4. Plaintiff is informed and believes, and based thereon
8 alleges, that defendant Locsy, Inc. is, and at all relevant

) times herein was, a corporation organized and existing under the
10 |} laws of the State of California having its principal place of
11 business at 4740 Everett Avenue, Vernon, California 90058.
12 Locsy, Inc. does business under the fictitious business name of
13 Golden Foods Corporation and will be referred to in this

14 complaint as "Locsy".

15 5. Plaintiff is informed and believes, and based thereon
16 |/ alleges, that defendant Eliseo Sy (hereinafter "Sy") is the
17 || President and Chief Executive Officer of Locsy. Plaintiff is

18 further informed and believes, and based thereon alleges, that
19 Sy induced, aided, abetted, controlled and/or directed and
20 || contributed to the improper and infringing conduct alleged
21 below.

22 6. Plaintiff is informed and believes, and based thereon
23 alleges, that defendant Global Produce Corporation (hereinafter,
24 "Global") is, and at all relevant times herein was, a

25 corporation organized and existing under the laws of the State
26|{ of California having its principal place of business at 3144 E.
27 Slauson Avenue, Vernon, California 90058. Global does business

28 || under the fictitious business name of Golden Foods Corporation.

 

 

 

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7. Plaintiff is informed and believes, and based thereon
alleges, that defendant Philip Young (hereinafter "Young") is
the President and Chief Executive Officer of Global. Plaintiff
is further informed and believes, and based thereon alleges,
that Young induced, aided, abetted, controlled and/or directed
and contributed to the improper and infringing conduct alleged
below.

8. Plaintiff is informed and believes, and based thereon
alleges, that defendant Golden Foods Corporation (hereinafter,
"Golden") is, and at all relevant times herein was, a
corporation of unknown origin doing business in the Southern
District of California.

9. Plaintiff is informed and believes that each of the
defendants is commonly owned and/or controlled.

BACKGROUND AND GENERAL LEGATIONS

10. Jollibee operates the Philippines’ largest chain of
fast food restaurants. The Jollibee restaurant operations
include preparing, advertising, promoting, distributing and
selling food items and services to the public. Jollibee food
products include, but are not limited to, chicken, hamburgers,
french fries, sodas and snack foods. Jollibee sells its
products and services under the service mark, trade name and
corporate name "Jollibee," and it employs a mascot device
depicting the face of a bee wearing a chef’s hat and bow tie on
its product packaging, napkins and related products, and on the
signage for its restaurants.

11. Jollibee has expanded its operations into the United

States by opening a restaurant in Guam. Jollibee intends to

 

 
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enter the mainland United States market in other locations with
its food and/or restaurant products and services. To this end,
as is more fully discussed below, Jollibee has filed
applications for service marks with the United States Patent and
Trademark Office and is the owner of such a registered service
mark.

Infringement of Federally Registered Trademark

12. In addition to its common law rights in the
trademark, service mark and trade name "Jollibee," plaintiff is
the owner of the registered service mark No. 1,610,205 depicting
the face of a bee wearing a chef’s hat and a bow tie (the "Bee
Mascot Device") which issued on August 14, 1990 in class 42.
Applications are pending for other classes. A true and correct
copy of the certificate of registration for service mark No.
1,610,205 is attached as Exhibit 1 to this complaint. On
July 7, 1993, Jollibee also filed application No. SN 74-409,992
for registration of a service mark for the word "Jollibee" in
international classes 29, 30, 32 and 42. Application for the
"Jollibee" mark was reflected in the October 4, 1994 publication
of the United States Patent and Trademark Office.

13. Jollibee has been using the Bee Mascot Device service
mark and the Jollibee service mark and trade name to promote and
sell its services and products. The Bee Mascot Device and
Jollibee marks have been used, advertised and displayed
prominently upon signs to depict the trade name of Jollibee’s
restaurants and on its food and drink packaging and accessories.

14. As a result of Jollibee’s widespread and continuous

use and promotion of the Bee Mascot Device and Jollibee marks,

 

 
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the Bee Mascot Device and Jollibee marks have come to and now do
represent and symbolize the reputation and valuable goodwill of
Jollibee among members of the trade and the relevant purchasing
public. This purchasing public includes, but is not limited to,
the significant number of people who have emigrated to the
United States from the Philippines and other Asian countries and
who seek out certain food items commonly sold at Asian markets
in the United States. These food items often include food
products which are either produced by Asian companies familiar
to the immigrants or by local companies who operate under
license by the Asian companies. The Bee Mascot Device and
Jollibee marks are famous in the Philippines and among Filipinos
living in the United States,

15. Plaintiff is informed and believes, and based thereon
alleges, that defendants also produce and sell food products
which are directed, at least in part, to the United States Asian
community and Filipino-Americans. In particular, defendants
produce and sell in Asian food stores "prawn crackers" under the
name "Jollybee" in a typeface which is the same as that used by
Jollibee and using a mascot which is virtually identical to the
registered Bee Mascot Device service mark. The packaging for
defendants’ "prawn crackers" contains the additional notation of
"original," further implying that it is actually produced by the
well known Jollibee Foods Corporation. Defendants’ "prawn
crackers" do not contain any natural prawn flavoring.

16. The name and mark "Jollybee" used by defendants
sounds identical and is virtually identical in appearance to

plaintiff's Jollibee mark and name. The bee mascot symbol used

 

 
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by defendants is identical to Jollibee’s registered Bee Mascot
Device service mark. Defendants’ use of these marks in
connection with food and snack products creates a likelihood of
confusion as to source of origin, affiliation or association.

17. Upon learning of defendants’ use of the Bee Mascot
Device and Jollibee marks, or confusingly similar marks,
Jollibee, through its attorneys, informed Global that Jollibee
is the owner of the marks. Jollibee further informed Global
that its use of the Bee Mascot Device mark and "Jollybee" name
violated Jollibee’s senior and continuous use of the marks and
Jollibee’s rights to the marks as a result of such use.

Jollibee further informed Global that it is the registered owner
of the Bee Mascot Devise service mark.

18. Global has failed to respond to Jollibee’s demand
that it cease and desist using the marks in the sale of their
products. Instead, defendants, at the direction and/or with the
approval and/or ratification of Young and Sy, have continued to
produce and distribute food products bearing the Bee Mascot
Device and "Jollybee" marks. In particular, defendants have
manufactured, printed and/or distributed in interstate commerce
unauthorized containers, packaging, advertising and display
materials bearing the Bee Mascot Device and "Jollybee" marks in
connection with Golden Foods’ food products, including its prawn
crackers, a popular snack food in Asia and among Asian
immigrants living in the United States. An example of such
packaging is attached as Exhibit 2. These acts by defendants,
without the consent of Jollibee, are willful and done with the

intent to trade upon Jollibee’s goodwill and reputation.

 

 

 
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19. The knowing and willful infringement of Jollibee’s
trademarks, service marks and names, with constructive and
actual notice of Jollibee’s rights, and the knowing and willful
continuing infringement, makes this an exceptional case
warranting an award of treble damages and attorneys’ fees under
14 U.S.C. section 1117.

I.
FIRST CLAIM FOR RELIEF
(Trademark Infringement In Violation Of
The Lanham Act, 15 U.S.C. §§ 1114-1119)

20. Plaintiff Jollibee realleges and incorporates herein
by this reference each and every one of the averments contained
in paragraphs 1 through 19, as though fully set forth herein.

21. As between the parties hereto, Jollibee was the first
to adopt and use "Jollibee" and the Bee Mascot Device for food
products and is the owner of a registered service mark for the
Bee Mascot Device. Defendants’ subsequent adoption and use of
the confusingly similar "Bee Mascot Device" to identify their
food products constitutes infringement of Jollibee’s federally
registered service mark in violation of U.S.C. section 1114, et
seq.

22. Defendants’ acts of infringement are willful,
conducted with knowledge of and in total disregard for
plaintiff‘s superior rights in the Bee Mascot Device service
mark and are intended to confuse members of the relevant
consuming public as to the source of goods and services promoted

and sold by defendants.
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23. As a result of defendants’ trademark infringement in
violation of the Lanham Act, Jollibee is entitled to an
injunction as set forth more specifically in the Prayer for
Relief below; damages and defendants’ profits; attorneys’ fees;
and costs of suit.

II.
SECOND CLAIM FOR RELIEF
(False Designation Of Origin In Violation
Of § 43(a) Of The Lanham Act
15 U.S.C. § 1125[a]}

24. Plaintiff Jollibee realleges and incorporates herein
by this reference each and every one of the averments contained
in paragraphs 1 through 23, as though fully set forth herein.

25. Defendants’ unauthorized imitation and use of the
Jollibee and Bee Mascot Device marks constitutes a false
designation of origin or a false description or representation
that wrongly and falsely designates the products or services
offered now or in the future by defendants as originating from,
and connected or otherwise associated with Jollibee in violation
of 15 U.S.C section 1125.

26. As a result of defendants’ false designation of
origin in violation of the Lanham Act, Jollibee is entitled to
an injunction as set forth more specifically in the Prayer for

Relief below; damages and defendants’ profits; attorneys’ fees;
and costs of suit.

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IIt.
THIRD CLAIM FOR RELIEF
(Trademark Dilution In Violation Of The Federal Trademark
Dilution Act of 1995; 15 U.S.C. § 1125[c])

27. Plaintiff Jollibee realleges and incorporates herein
by this reference each and every one of the averments contained
in paragraphs 1 through 26, as though fully set forth herein.

28. Jollibee is the exclusive owner of the Bee Mascot
Device and Jollibee marks. Jollibee has used these marks in
connection with its food products and services. Throughout this
time, Jollibee has advertised and promoted these marks
extensively. As a result, these marks have become distinctive
and famous in the minds of the persons in the relevant trading
area and market channels to which Jollibee products are
directed.

29. Defendants’ unauthorized imitation and use of the
Jollibee and Bee Mascot Device marks dilutes the distinctive and
famous nature of the marks and lessens the capacity of the marks
to identify and distinguish the goods and services of Jollibee
in violation of 15 U.S.C section 1125[c].

30. Jollibee has no adequate remedy at law and has
suffered immediate and irreparable harm and damage, and will
continue to so suffer if an injunction is not granted as set
forth in the Prayer for Relief below.

31. Defendants’ willfully intended to trade upon the
distinctiveness of Jollibee’s reputation and/or willfully
intended to dilute the famous nature of Jollibee’s marks within

the relevant trading area and market channels, entitling

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Jollibee to damages.
Iv.
FOURTH CLAIM FOR RELIEF
(California Statutory Injury To Business Reputation
And Dilution In Violation Of California
Business And Professions Code § 14330)

32. Plaintiff Jollibee realleges and incorporates herein
by this reference each and every one of the averments contained
in paragraphs 1 through 31, as though fully set forth herein.

33. Defendants’ acts complained of herein are diluting
the distinctive nature of Jollibee’s marks and are injuring
Jollibee’s business reputation in violation of California
Business and Professions Code section 14330(a).

34. Jollibee has no adequate remedy at law and has
suffered immediate and irreparable harm and damage, and will
continue to so suffer if an injunction is not granted as set
forth in the Prayer for Relief below.

Vv.
FIFTH CLAIM FOR RELIEF
(California Unfair Competition)

35. Plaintiff Jollibee realleges and incorporates herein
by this reference each and every one of the averments contained
in paragraphs 1 through 34, as though fully set forth herein.

36. Jollibee over the years has built up valuable
goodwill in its Jollibee and Bee Mascot Device marks.

37. Defendants’ use of these marks and names is likely to
and does permit defendants’ to palm off their product as genuine

and original Jollibee products to the detriment of Jollibee, and

resulting in unjust enrichment of defendants. The acts

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complained of constitute unfair competition under the common law
of the State of California including California Business and
Professions Code section 17000, et seq.

38. The acts of defendants have damaged and will continue
to damage Jollibee. As a consequence, Jollibee is entitled to
damages, including defendants’ profits and restitution according
to proof and to an injunction prohibiting defendants from
continuing their unlawful and unfair business practices, as set
forth in the Prayer for Relief.

PRAYER FOR RELIEF

WHEREFORE, plaintiff prays for judgment against defendants
and against all of their subsidiaries, affiliates, agents,
servants, employees, officers, directors, partners and all
persons in active concert or participation with it, for the
following relief:

1. A permanent injunction restraining defendants from
copying or infringing plaintiff's service marks, trademarks and
trade name for its food products and services.

2. A judgment and order that defendants be required to
deliver up and destroy any and all infringing devices,
reproductions, counterfeits, copies, or colorable imitations
thereof, as well as all related advertising and promotional
material, and all plates, molds, and other means of making the
same, pursuant to 15 U.S.C. section 1118.

3. A judgment and order that defendants be required to
supply plaintiff with a complete record of all transactions,
agreements, and other activities involving or connected with the

making, using, or selling of infringing devices or activities.

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4, A judgment and order that defendants be required,
within thirty days of entry of judgment herein, to file with
this Court and serve upon plaintiff a written report stating, in
detail and under oath, the manner in which defendant has
complied with paragraphs 2 through 4 of this prayer for relief.

5. A judgment and order that defendants shall be liable
to plaintiff for the following:

a. Damages and profits from the infringement and

dilution of plaintiff's service marks and for the unfair

competition;
b. Prejudgment interest on all sums awarded;
c. The cost of bringing and maintaining this
action;

d. Reasonable attorneys’ fees;
7. An award trebling the amount of damages so

determined, pursuant to 15 U.S.C. section 1117.

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2 8. Any further relief that the Court may find just and

3 proper.

5 Dated: January 17, 1997 BAKER, & McKENZI
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Attorneys fo LLIBEE FOODS

 

9 CORPORATION
10 JURY TRIAL DEMAND
11 Pursuant to Fed.R.Civ.P. 38{b), plaintiff hereby demands a

12 || trial by jury as to the jury issues raised in this complaint.
13
Dated: January 17, 1997
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CORPORATION

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Int. Cl: 42
Prior US, Cl: 100 Reg. No. 1,610,205
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United States Patent and Trademark Office nevistered Ang. 14, 1990
SERVICE MARK .
PRINCIPAL REGISTER

 

JOLLIBER FOODS CORPORATION (PHILIP POR: RESTAURANT SERVICHS, IN CLASS

PINES CORPORATION) 42 (0.8. CL. 100),
STH FLOOR, CULMAT BLDG. OWNER OF PHILIPPINES REG, NO. 3964),
B. RODRIGUEZ SR. AVENUE DATED 4-18 1982, EXPIRES 435-200.

QuEZON CITY, MHTRO MANILA, PHILIP- SER. NO. 7}¥13,062, FILED 7-26-1989,

MARTIN MARKS, EXAMINING ATTORNEY

 

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WHEAT FLOUR, SALT, SUGAR,
VEGETABLE OIL, (SOY BEAN &/
OR CORN &/OR COTTON SEED
Cl ), COCONUT OIL. MONOSO-
DIUM GLUTAMATE, ARTIFICIAL
FLAVOR, ARTIFICIAL FOOD CO-
LOR( FD & C YELLOW NO. 5/é
102),BLACK PEPPER & CORN
STARCH,

tngrédients: Farine de tapioca,
farine de troment, sel, sucre
tulle végétale, (hulle de soja
et /ou de mais et /oude graine
de coton), hulle de nolx de
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Servings Per Contelner 45

Amount per fering
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Total Fat 39 6%. }

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MANUFACTURED BY:

GOLDEN FOODS
CORPORATION
VERNON, CA. 90058

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| (a} PLAINTIFFS FILED DEFENDANTS

 

JOLLIBEE FOODS CORPORATION todsy, INC., a California corporation
JAN | 7 1997 d.b.a. GOLDEN FOODS CORPORATION, et al

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(b) COUNTY OF RESIDENCE OF FIRST LISTED! pLAKTIRES _ DISTR: a cou: COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT Los ANGELES
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(o) ar ATTORNEYS (FIAM NAME, ADORESS, ANO TELEPHONE NUMBER} ATTORNEYS (1F KNOWN}
SLER 619 -
BAER ‘& WokENa te 236-1441
101 WEST BROADWAY, SUITE 1200

SAN DIEGO, CA 92101 '97 cv 0090 BTM (JFS)

 

 

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15 U.S.C. SECTION 1051, et seq. - TRADEMARK INFRINGEMENT

 

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AO 120 (3/85)

 

 

 

 

 

TO: REPORT ON THE
Commissioner of Patents and Trademarks FILING OR DETERMINATION OF AN
Washington, D.C. 20201 ACTION REGARDING A PATENT
in compliance with the Act of July 19, 1952 {66 Stal. 814; 35 U.S.C. 290) you are hereby advised
that a court action has been filed on the following patent{s) in ihe U.S. District Court:
DOCKET NO. DATE FILED U.S. DISTRICT COURT
97-0090 BTM (JFS) 1/17/9? United States District Court, Southern District of California

 

 

PLAINTIFF

Jollibee Foods Corporation

DEFENDANT

Locsy, Inc., Golden Foods, Corp, et al

 

 

 

 

 

 

 

PATENT NO. DATE OF PATENT PATENTER
E 1,610,205 8/14/90 Jollibee Foods Corporation
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the above-entitled case, the following patent(s) have been included:

 

DATE INCLUDED

INCLUDED BY

Amendment

| | Answer

[ Cross Bill ] Other Pleading

 

PATENT NO.

DATE OF PATENT

PATENTEE

 

 

 

 

 

 

 

 

 

In the above—entitled case, the following decision has been rendered or judgment issued:

 

DECISION/ JUDGMENT

 

CLERK

 

(BY) DEPUTY CLERK

 

DATE

 

 

Copy 1 - Upon initiation of action, mail this copy io Commissioner Copy 3 - Upon termination of action, mail this copy to Commissioner
Copy 2 - Upon filing document adding patent(s}, mail this copy io Commissioner Copy 4 - Case file copy

 

 

 
